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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
ABDOLLAH ABDOLLAHI, et al.,          )
                                     )
                  Plaintiffs,        )
                                     )
      v.                             )  Civil Action No. 19-3688 (ABJ)
                                     )
NATIONAL IRANIAN                     )
TANKER COMPANY, et al.,              )
                                     )
                  Defendants.        )
____________________________________)


                                              ORDER

        It appears upon review of the record that plaintiffs have failed to file the necessary military

affidavits with the Clerk of the Court in order to obtain entries of default against defendants Ali

Rabiei and Alaedin Boroujerdi. It also appears that plaintiffs have not taken any actions against

defendant National Iranian Tanker Company since the Clerk of the Court entered default against

it on May 3, 2020. See Dkt. # 7. Therefore, plaintiffs are ORDERED to file the proper forms and

motion, or to show cause why this case should not be dismissed for want of prosecution by

July 20, 2020.

       SO ORDERED.




                                               AMY BERMAN JACKSON
                                               United States District Judge

DATE: July 6, 2020




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